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UNTIED STATES DISTRICT COURT
DISTRICT OF UTAH

 

UBS BANK USA,
Plaintiff,
VS

Judge Ted Stewart
HAL S MULLINS,

 

AFFIDAVIT OF STEVE STEWART

Civil Action No 2 08-CV-00814

 

Defendant
STATE OF UTAH )
) ss
COUNTY OF SALT LAKE }

STEVE STEWART, being duly sworn and under oath, deposes and says

l I am the Chief Credit Officer of UBS Bank USA (the “Bank”), plaintiff in

the above-captioned action My work address 1s 299 South Main Street, Salt Lake City,
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Utah 84111 I submit this Affidavit in support of the Bank’s Motion for Summary
Judgment against Defendant Hal S Mullins (“Mullins”) I have personal knowledge of
the facts set forth herein

2 The Bank and Mullins are parties to a certain Credit Line Agreement,
dated November 22, 2006 A true and correct copy of the Credit Line Agreement 1s
attached hereto as Exhibit A

3 Pursuant to the Credit Line Agreement, the Bank established a demand
revolving line of credit by which the Bank, upon Mullins’ request, could in its sole and
absolute discretion make one or more advances to Mullins

4 At Mullins’ request, the Bank made advances to Mullins under the Credit
Line Agreement (the “Loans”)

5 In or about September 2008, as well as at other times, the Bank
determined that Mullins failed to maintain sufficient Collateral to maintain the Loans

6 By letter, dated September 24, 2008, the Bank demanded immediate
payment in full from Mullins of all amounts due and owing on the Loans, including
accrued interest The Bank further notified Mullins that, should he fail to make such
payment to the Bank, the Bank would, among other things, undertake certain actions,
including, but not limited to, pursuing 1ts legal remedies A true and correct copy of the
Bank’s September 24, 2008 letter to Mullins 1s attached hereto as Exhibit B

7 Mullins failed and refused to repay the outstanding principal and interest
due and owing on the Loans Accordingly, the Bank exercised its rights under the
Credit Line Agreement by liquidating the Collateral and applying the proceeds to the

amounts due and owing on the Loans
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8 Following the Bank’s liquidation of the Collateral, there existed and still
currently remains certain amounts due and owing on the Loans
9 As of February 23, 2010, the amounts due and owing on the Loans totaled

$294,860 18, upon which amount interest has accrued and 1s continuing to accrue

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STEVE STEWART

Sworn to before me this
J3aday of Fz: “4, 2010
ca MAY OF Leb tuae ois, _ NOTARY PUBLIC

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Sl 2095 Main St. Suite 2278
Notary Public

 

 
  
  

Salt Lake City Utah 64111
My Commission

May 3 20tt
STATE OF UTAH

 

 

 
